     Case: 1:14-cv-04645 Document #: 110 Filed: 04/20/17 Page 1 of 14 PageID #:1028



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MANUEL SANCHEZ, on behalf of himself and )
all other persons similarly situated, known )
and unknown,                                )
                                            )                 Case No. 14-cv-4645
                     Plaintiff,             )
                                            )                 Judge Kendall
        v.                                  )
                                            )
ROKA AKOR CHICAGO LLC,                      )
                                            )
                     Defendant.             )

         ORDER APPROVING COLLECTIVE AND CLASS ACTION SETTLEMENT

          This Court, having granted approval of the Parties’ FLSA’s collective action settlement

and preliminary approval of the Parties’ class action Settlement (ECF No. 100) and having

reviewed Plaintiffs’ Motion for Final Approval of Settlement Agreement for Class and

Collective Action Claims and supporting exhibits submitted by Plaintiff, as well as the Parties’

presentation at the Final Approval Hearing, and otherwise being fully informed in the premises,

the Court hereby finds as follows1:

          The FLSA Settlement Is Approved

          1. On August 7, 2015, Plaintiff filed his Motion to Authorize Notice Pursuant to Section

16(b) of the FLSA and to Certify a Class Action Pursuant to Fed. R. Civ. P. 23(b)(3). ECF No.

61. The Motion was fully briefed. ECF Nos. 67, 68. On January 7, 2016, the Court granted

Plaintiff’s motion, certifying a class of all servers who worked for Defendant from June 19, 2011

to the conclusion of this action who contributed a portion of their tips to Defendant’s tip out

arrangement. ECF No. 70. The Class certified by the Court was “all persons employed by

Defendant as servers from June 19, 2011, to the conclusion of this action, who contributed a

1
    All capitalized terms are defined in the Parties Settlement Agreement. See ECF No. 98-1.
   Case: 1:14-cv-04645 Document #: 110 Filed: 04/20/17 Page 2 of 14 PageID #:1028



portion of their tips to Defendant’s tip out arrangement” (the “Class”). ECF No. 70, p. 11. The

Court also granted final certification of Plaintiff’s FLSA collective action claim. Id.

        2. On January 6, 2016, the Court preliminarily approved the Parties’ Settlement of

Plaintiff’s, opt-in plaintiffs’, and Class Members’ Fair Labor Standards Act claims as a fair and

reasonable resolution of a bona fide dispute in this contested litigation. ECF No. 100, ¶ 1.

        3.      All persons in the Settlement Class who negotiate (i.e., cash or deposit) a

Settlement Check shall be deemed to have consented to join the litigation and shall be a party to

the case under the FLSA.

        The Rule 23 Settlement is Approved Because it is Fair, Reasonable and Adequate

        4.      The Court finds that the Settlement Class certified in its January 6, 2017 Order

(ECF No. 100) satisfies the requirements of Rule 23(a) and is maintainable under Rule 23(b)(3)

for purposes of settlement of this action. The Settlement Class includes:

                All persons employed by Defendant as servers from June 19, 2011, to
                December 31, 2016, who contributed a portion of their tips to Defendant’s
                tip out arrangement, and who have not excluded themselves from the
                Action.

        5.      Aaron Larson excluded himself from this Class Action in May 2016. Mr. Lawson

is not a member of the Settlement Class, and the terms of the Settlement do not apply to him.

        6.      The Court approves the Parties’ Settlement and finds that the Settlement is fair,

reasonable, and adequate to all Class Members. The Court finds that the strength of the

Plaintiffs’ case on the merits, weighed against Defendant’s defenses, and the complexity, length,

and expense of further litigation, support approval of the Settlement.

        7.      The Gross Settlement Amount of $650,000.00, as set forth in the Settlement

Agreement, is a fair, reasonable and adequate settlement of the claims. The Settlement was

reached pursuant to arm’s-length negotiations between the Parties on the eve of trial, and has the

support of Class Counsel and Counsel for Defendant, both of whom have significant experience
                                              2
  Case: 1:14-cv-04645 Document #: 110 Filed: 04/20/17 Page 3 of 14 PageID #:1028



representing parties in complex class actions.

        8.      The Notice of Class Action Settlement (“Class Notice”) sent to the members of

the Settlement Class via First Class Mail adequately informed the Class Members of the terms of

the Settlement Agreement, their estimated recovery if the Settlement was approved, the process

available to them to obtain monetary relief, their right to request exclusion from the Settlement

and pursue their own remedies, and their opportunity to file written objections and to appear and

be heard at the Hearing on Final Approval regarding the approval of the Settlement Agreement.

The Class Notice also adequately informed the Class Members of additional resources available

for further information, including the telephone number of Class Counsel and the Settlement

Administrator from whom Class Members could access additional information and documents

regarding the case and settlement. The Court finds that the Class Notice provided satisfied the

requirements of Rule 23(c)(2)(B) and Rule 23(e)(1).

        9.      As identified in the declaration of Caroline P. Barazesh, Settlement

Administrator, filed on April 17, 2017, the Court finds that no Class Member excluded himself

or herself from the Settlement following the issuance of the Notice of Class Action Settlement

and no Class Member objected to the Settlement. The absence of any objections to the

Settlement by Class Members likewise supports approval of the Settlement. In addition, the

litigation was settled only on the verge of trial, after the Parties had filed their Final Pre-Trial

documents, and the litigation had progressed to a stage where the Court and the Parties could

fully and completely evaluate the merits of the case, potential damages, and the probable course

of future litigation, and thus warrants approval of the Settlement.

        10.     Class Members release and discharge “Released Parties” (as defined in the

Settlement) from all claims, demands, rights, liabilities, and causes of action arising or occurring

during the Class Period under the IMWL, 820 ILCS 105/1 et seq, as alleged in the First

                                                   3
  Case: 1:14-cv-04645 Document #: 110 Filed: 04/20/17 Page 4 of 14 PageID #:1028



Amended Complaint, that they were not properly paid minimum wages, as well as any claims for

interest, liquidated damages, and attorneys’ fees and costs. Class Members who negotiate their

Settlement Checks shall be deemed to have released all such claims arising under the FLSA, 29

U.S.C. §201 et seq.

       11.     The Class Representative, Manuel Sanchez, and Defendant, Roka Akor Chicago,

LLC, fully and unconditionally release each other from and for any and all claims, liabilities,

suits, personal injuries, demands, debts, liens, damages, costs, grievances, injuries, actions or

rights of action, known or unknown, in law or in equity, which were or which could have been

filed with the Action or which could have been raised with an arbitrator, agency, or other

government entity, occurring and/or accruing prior to the Effective Date and further defined in

the Parties’ Settlement Agreement.

       12.     Defendant shall transfer to the Settlement Administrator the Gross Settlement

Fund of $650,000.00 per the terms of the Settlement Agreement.

       13.     Defendant shall pay, separate and apart from the Settlement Fund, the employer’s

share of all applicable state and federal payroll taxes on all wage checks distributed to the

Plaintiff and Class Members. Defendant will transmit the amount payable for the employer’s

share of payroll taxes by wire transfer to the Settlement Administrator per the terms of the

Settlement Agreement.

       14.     Class Members shall each receive their ratable shares of the Class Settlement

Fund in accordance with the calculations provided for in the Settlement Agreement. The

Settlement Administrator shall issue Class Members their settlement payments from the Class

Settlement Fund (the Class Settlement Fund equals the Gross Settlement Fund minus Court-

awarded attorneys’ fees and costs, the Settlement Administrator’s fee, and the Class

Representative’s Service Payment). Fifty percent (50%) of each Settlement Payment shall be

                                                  4
  Case: 1:14-cv-04645 Document #: 110 Filed: 04/20/17 Page 5 of 14 PageID #:1028



allocated as wages (which shall be subject to required tax withholdings and deductions and

reported as wage income as required by law), and the remaining fifty percent (50%) of each

Settlement Payment shall be allocated as penalties (which shall not be subject to required

withholdings and deductions and shall be reported as non-wage income as required by law).

       15.      The Settlement Administrator shall deliver to Class Counsel the checks for the

Class Representative’s Settlement Award and Service Award.

       16.      The Settlement Administrator will mail checks for Class Members’ Settlement

Awards as provided in the Settlement Agreement after the Effective Date, and after the

Settlement Administrator confirms a valid address for each Class Member through the National

Change of Address (NCOA) Database. No settlement payment shall be mailed to any Class

Member for which a valid address cannot be found. Any checks that remain uncashed after one

hundred and twenty (120) days from the date they are issued by the Settlement Administrator

shall be deemed void. The Settlement Administrator will return all funds from uncashed checks

to Defendant.

       Service Payment to the Plaintiff Sanchez

       17.      The Court approves the Class Representative Service Award to Plaintiff Sanchez

in the amount of $7,500.00. The Service Award shall be paid from the Gross Settlement Fund.

The Service Award recognizes Mr. Sanchez’s service to the Class, including time and effort

spent conferring with Class Counsel, filing and pursuing the Action, answering written

discovery, producing documents, sitting for his deposition, attending the mediation, and in

recovering compensation on behalf of all Class Members. The Service Award shall be reported

as non-wage income and shall not be subject to payroll tax withholdings and deductions.

       18.      Plaintiffs in class and collective actions play a crucial role in bringing justice to

those who would otherwise be hidden from judicial scrutiny. “Because a named plaintiff is an

                                                   5
  Case: 1:14-cv-04645 Document #: 110 Filed: 04/20/17 Page 6 of 14 PageID #:1028



essential ingredient of any class action, an incentive award is appropriate if it is necessary to

induce an individual to participate in the suit.” Cook v. Niedert, 142 F.3d 1004, 1016 (7th Cir.

1998). This is especially true in employment litigation. Service awards are well suited in

employment litigation because the plaintiffs assume the risk that future employers may look

unfavorably upon them if they file suit against former employers. Beesley v. Int’l Paper Co., No.

06 C 703, 2014 WL 375432, at *4 (S.D. Ill. Jan. 31, 2014).

       19.     Incentive awards serve the important purpose of compensating plaintiffs for the

time and effort expended in assisting the prosecution of the litigation, the risks incurred by

becoming and continuing as a litigant, and any other burdens sustained by the plaintiffs. See,

e.g., Espenscheid v Directsat USA, LLC, 688 F.3d 872, 876-77 (7th Cir. 2012) (Posner, J.); Cook,

142 F.3d at 1016; Massiah v. MetroPlus Health Plan, Inc., No. 11 Civ. 5669, 2012 WL 5874655,

at *8 (E.D.N.Y. Nov. 20, 2012); cf. Follansbee v. Discover Fin. Servs., Inc., No. 99 Civ. 3827,

2000 WL 804690, at *7 (N.D. Ill. June 21, 2000) (recognizing the importance of incentive

awards). Accordingly, incentive awards are commonly awarded to those who serve the interests

of the class. Massiah, 2012 WL 5874655, at *8 (collecting cases); accord Chesemore v. Alliance

Holdings, Inc., No. 09 Civ. 413, 2014 WL 4415919, at *4 (W.D. Wis. Sept. 5, 2014); Hawkins v.

Securitas Sec. Servs. USA, Inc., 280 F.R.D. 388, 395 (N.D. Ill. 2011).

       20.     In examining the reasonableness of a requested service award, courts consider: (1)

the actions the plaintiff has taken to protect the interests of the class, (2) the degree to which the

class has benefited from those actions, and (3) the amount of time and effort the plaintiff

expended in pursuing the litigation. Cook, 142 F.3d at 1016; Am. Int’l Grp., Inc. v. ACE INA

Holdings, Inc., No. 07 Civ. 2898, 2012 WL 651727, at *16 (N.D. Ill. Feb. 28, 2012). An

examination of these factors warrants the approval of the requested service awards.

       21.     First, Plaintiff Sanchez took substantial actions to protect the interests of potential

                                                   6
  Case: 1:14-cv-04645 Document #: 110 Filed: 04/20/17 Page 7 of 14 PageID #:1028



class and collective action members, and those actions resulted in a substantial benefit to 64

additional Class Members, who will receive checks in amounts ranging from a maximum of over

$39,000.00 and an average settlement payment of $5,876.50. Courts in this Circuit and others

have approved incentive awards for similar activities. See Briggs, 2016 WL 7018566, at * 3

(approving $12,500 service award to two plaintiffs in FLSA settlement for a total of $25,000 in

service awards); Castillo v. Noodles & Company, No. 16-cv-03036, 2016 WL 7451623 (N.D. Ill.

Dec. 23, 2016) (approving $10,000 service award to four plaintiffs in FLSA settlement for a total

of $40,00 in service awards). Mr. Sanchez’s actions have resulted in substantial benefit to the

class.

         22.    Second, Plaintiff Sanchez undertook substantial direct and indirect risk. In

agreeing to file this class action suit in his name, Plaintiff undertook the significant risk that,

“should the suit fail, [he could] find [himself] liable for the defendant’s costs or even, if the suit

[was] held to have been frivolous, for the defendant’s attorneys’ fees.” Espenscheid, 688 F.3d at

876-77 (internal citations omitted). Although Plaintiff was no longer employed by Defendant

when he filed the Complaint, he risked retaliation from future employers for the benefit of all

Settlement Class Members. See Beesley, 2014 WL 375432, at *4 (recognizing that suits against

former employers carry risks of professional and personal repercussions). “The incentive reward

is designed to compensate [named plaintiffs] for bearing these risks.” Espenscheid, 688 F.3d at

877; accord Koszyk, 2016 WL 5109196, at *3.

         23.    Third, Plaintiff Sanchez spent a significant amount of time and effort pursuing

this litigation on behalf of all Class Members. Plaintiff assisted in the preparation and filing of

the lawsuit, answered written discovery, provided a sworn declaration, sat for a deposition,

attended a mediation, and otherwise assisted Plaintiffs’ Counsel with the prosecution of the

litigation. Briggs, 2016 WL 7018566, at * 3 (approving service award to named plaintiffs who

                                                   7
  Case: 1:14-cv-04645 Document #: 110 Filed: 04/20/17 Page 8 of 14 PageID #:1028



expended time and effort providing pre-litigation assistance to plaintiff’s counsel, preparing and

reviewing the complaint, providing a declaration, and helping prepare for mediation); Castillo,

2016 WL 7451626, at * 3 (approving service award to named plaintiffs who participated in an

extensive pre-suit investigation, provided documents crucial to establishing the claims, and

assisting plaintiffs’ counsel in analyzing documents during the informal discovery process).

       24.     Accordingly, a service award of $7,500.00 to Plaintiff Sanchez for his service to

the Class Members are approved.

       Class Counsel’s Requested Attorneys’ Fees and Costs are Approved

       25.     The Court grants Class Counsel’s request for attorney’s fees in the amount of

Two Hundred Fifty Thousand and No/100ths Dollars ($250,000.00), as attorney’s fees.

       26.     The attorneys’ fees provisions of the Fair Labor Standards Act, 29 U.S.C. §

216(b), (“FLSA”), and the Illinois Minimum Wage Law, 820 ILCS 105/12, exist to enable

plaintiffs to employ reasonably competent lawyers without cost to themselves if they prevail and,

thereby, to help ensure enforcement of the substantive provisions of the FLSA and the IMWL.

29 U.S.C. §216(b) (“The court in such action shall, in addition to any judgment awarded to the

plaintiff or plaintiffs, allow a reasonable attorney’s fee to be paid by the defendant, and costs of

the action.”); 820 ILCS 105/12 (“If any employee is paid by this employer less than the wage to

which he is entitled under the provisions of this Act, the employee may recover in a civil action

the amount of any such underpayments together with costs and such reasonable attorney’s fees

and may be allowed by the Court”).

       27.     Class Counsel seek their attorney’s fees on a lodestar basis. Hensley v. Eckerhart,

461 U.S. 424, 433 (1983). Multiplication of the number of hours reasonably expended on the

merits of the litigation by the reasonable hourly rate equals the lodestar, Small v. Richard Wolf

Med. Instruments Corp., 264 F.3d 702, 707 (7th Cir. 2001), which is presumed to be a

                                                  8
  Case: 1:14-cv-04645 Document #: 110 Filed: 04/20/17 Page 9 of 14 PageID #:1028



reasonable fee, City of Burlington v. Dague, 505 U.S. 557, 562 (1992). The Seventh Circuit has

applied the Hensley framework to fee-award determinations for claims brought under the FLSA.

See Spegon v. Catholic Bishop of Chicago, 175 F.3d 544 (7th Cir. 1999).

       28.     As explained below, Plaintiffs’ Attorneys seek a compromised amount of

Plaintiffs’ Attorneys’ Fees in the amount of $250,000.

               Class Counsel’s Reasonably Incurred Time

       29.     Class Counsel provided the Court a summary of the billable time (and reasonable

hourly rates), that they incurred in litigating this combined Rule 23 class and FLSA collective

action. The billable time by timekeeper and requested hourly rates are as follows:

                                            HOURLY
       TIMEKEEPER                                           HOURS          TOTAL
                                            RATE
       Douglas M. Werman                    $650            133.84         $86,996.00
       Maureen A. Salas                     $525            23.70          $12,442.50
       Zachary C. Flowerree                 $430            313.42         $134,770.60
       Sarah J. Arendt                      $400            50.10          20,040.00
       Cristina Calderon                    $150            19.83          2,974.50
       Adriana Rodriguez                    $150            38.83          5,824.50
       Jacqueline H. Villanueva             $150            18.64          2,796.00
       Othon Nunez                          $150            42.83          6,424.50
       Maria Reyes                          $150            2.34           351.00
       Carla Villanueva                     $150            93.01          13,951.50
       Total                                                736.54         286,571.10


       30.     At the time this case settled, it was on the verge of trial. A trial date had been set

and the Parties had a filed a Final Pre-Trial Order, including proposed jury instructions and

motions in limine. Prior to that time, the Parties extensively litigated this case. Class Counsel’s

lodestar noted above does not account for the time Class Counsel will expend fulfilling their

obligations in the Settlement Agreement, conferring with the Settlement Administrator,

monitoring the administration of the Settlement, and responding to Class members’ inquiries.



                                                  9
  Case: 1:14-cv-04645 Document #: 110 Filed: 04/20/17 Page 10 of 14 PageID #:1028



         31.      Based on the evidentiary materials and declarations submitted by Class Counsel,

the Court concludes that the total of 736.54 hours that Class Counsel expended on the litigation

is reasonable.

               Class Counsel’s Reasonable Hourly Rates

         32.      Under the lodestar method, for purposes of determining a reasonable attorney’s

fee, the hourly rate must be calculated in accordance with the prevailing market rate in the

relevant community. Blum v. Stenson, 465 U.S. 896, 895 (1984). Where a lawyer commonly

charges clients by the hour, the regular billing rate is presumptively the market rate. Spegon v.

Catholic Bishop of Chicago, 175 F.3d 544, 555 (7th Cir. 1999); People Who Care v. Rockford

Bd. of Educ., 90 F.3d 1307, 1310 (7th Cir. 1996). But if an attorney ordinarily works on a

contingent-fee basis, a court should look to the next best evidence -- the rate charged by lawyers

in the community of ‘reasonably comparable skill, experience, and reputation.’” People Who

Care, 90 F.3d at 1310 quoting Blum, 465 U.S. at 895 n.11.

         33.      Class Counsel provided declarations to establish that the hourly rates they request

are the rates they also charge to hourly paying clients, have been awarded by other Courts, and

are otherwise justified by their experience and recognition as national leaders in advocating the

rights of working people in wage and hour litigation. The outstanding result Werman Salas P.C.

obtained for all Class Members further supports the request for Class Counsel’s requested hourly

rates.

         34.      The Court concludes that the following hourly rates are reasonable and supported

by the evidentiary showing made by Class Counsel:

                  TIMEKEEPER                                HOURLY RATE
                  Douglas M. Werman                         $650
                  Maureen A. Salas                          $525
                  Zachary C. Flowerree                      $430
                  Sarah J. Arendt                           $400
                                                   10
 Case: 1:14-cv-04645 Document #: 110 Filed: 04/20/17 Page 11 of 14 PageID #:1028



               Cristina Calderon                           $150
               Adriana Rodriguez                           $150
               Jacqueline H. Villanueva                    $150
               Othon Nunez                                 $150


       35.     A Court may consider other factors to determine loadstar amount. These factors

include (1) the time and labor required; (2) the novelty and difficulty of the questions; (3) the

skill requisite to perform the legal service properly; (4) the preclusion of employment by the

attorney due to acceptance of the case; (5) the customary fee; (6) whether the fee is fixed or

contingent; (7) time limitations imposed by the client or the circumstances; (8) the experience,

reputation, and ability of the attorneys; (9) the undesirability of the case; and (10) the nature and

length of the professional relationship with the client. People Who Care v. Rockford Bd. of

Educ., 90 F.3d 1307, 1310-11 (7th Cir. 1996) (“People Who Care I”) (citing Hensley v.

Eckerhart, 461 U.S. 424, 436, 76 L. Ed. 2d 40, 103 S. Ct. 1933 (1983)). These factors support

the award of Plaintiffs’ Attorneys’ requested fees.

               The Market Price for Legal Services also Supports the Requested Attorney’s
               Fees

       36.     Although the Court awards Class Counsel their fee on a reduced lodestar basis,

the Court recognizes that in awarding attorneys’ fees, this Court ultimately “must do [its] best to

award counsel the market price for legal services, in light of the risk of nonpayment and the

normal rate of compensation in the market at the time.” In re Synthroid, 264 F.3d at 718.

District courts must “undertake an analysis of the terms to which the private plaintiffs and their

attorneys would have contracted at the outset of the litigation when the risk of loss still existed.”

Sutton, 504 F.3d at 692. They must “do their best to recreate the market by considering factors

such as actual fee contracts that were privately negotiated for similar litigation, [and] information

from other cases . . . . ” Taubenfeld v. AON Corp., 415 F.3d 597, 599 (7th Cir. 2005).

                                                 11
  Case: 1:14-cv-04645 Document #: 110 Filed: 04/20/17 Page 12 of 14 PageID #:1028



        37.      Plaintiffs’ request for effectively 39.5% of the common fund is also consistent

with the market in the Northern District of Illinois. Redman, 768 F.3d at 630 (“... the ratio of (1)

the fee to (2) the fee plus what the class members received” and the “attorney’s fees awarded to

class counsel should not exceed a third or at most a half of the total amount of money going to

class members.” (emphasis added); In re Cont’l Ill. Sec. Litig., 962 F.2d 566, 572 (7th Cir. 1992)

(the “usual range for contingent fees is between 33 and 50 percent.”); In re Dairy Farmers, 80 F.

Supp. 3d 838, 845 (N.D. Ill. Feb. 20, 2015) (in class actions, “usual range for contingent fees is

between 33 and 50 percent”); Retsky Family Ltd. P’ship, No. 97 C 7694, 2001 WL 1568856, at *

4 (a “customary contingency fee would range from 33 1/3% to 40% of the amount recovered);

Gaskill v. Gordon, 160 F.3d 361, 362 (7th Cir. 1998) (“the typical contingent fee contract is

between 33 and 40 percent …”); Kirchoff, 786 F. 2d at 323 (“40% is the customary fee in tort

litigation” and noting, with approval, contract providing for one-third contingent fee if litigation

settled prior to trial).

                 The Results and the Benefits Conferred Upon the Class Representatives and
                 the Class Members Justify the Requested Award

        38.      The Settlement Payments Class Members will receive are significant. The highest

settlement payment to a Class Member is over $39,000 and the average Class Member award is

$5,876.50. Class Members who cash settlement checks will receive the maximum wages owed

to them – even after the payment of attorney’s fees and litigation expenses – at the rate of $8.25

an hour as though they (i) were entitled to the difference between $8.25, the Illinois minimum

wage, and the tip credit rate Class Members were paid, for every hour they worked during the

Class Period. This is an outstanding result for Class Members inasmuch as Defendant disputes

that their policies violated state and federal wage and hour laws. See, Rotuna v. W. Customer

Mgmt. Grp., LLC, 4:09CV1608, 2010 WL 2490989, at *8 (N.D. Ohio June 15, 2010) (awarding

one-third of common fund and describing recovery of 75% to 25% of claimed wages as
                                             12
 Case: 1:14-cv-04645 Document #: 110 Filed: 04/20/17 Page 13 of 14 PageID #:1028



“exceptional.”); Dillworth v. Case Farms Processing, Inc., 5:08-CV-1694, 2010 WL 776933, at

*8 (N.D. Ohio Mar. 8, 2010) (describing recovery of one-third of claimed wages as

“exceptional.”).

       39.     Nor will Class Members, with the exception of the Named Plaintiff, be required to

provide a general release in order to participate in the Settlement. As a result, any claim a Class

Member may have other than those asserted or related to this lawsuit remain unaffected. The

absence of a general release exemplifies the results achieved for the Class. See Ramah Navajo

Chapter v. Babbitt, 50 F. Supp. 2d 1091, 1103-04 (D.N.M. 1999) (noting that the limited, rather

than general, nature of the release as further evidence of an exceptional result in favor of class

members).

       40.     Based on their rate of compensation in similar cases, the risk Class Counsel

undertook in engaging in this litigation with no guarantee of any compensation, and the

excellent result achieved for Class members, Class Counsel is entitled to a reasonable

attorneys’ fees award in the amount of $250,000.00.

       Class Counsel’s Request for Reimbursement of Reasonably Incurred Litigation
       Expenses and the Costs of the Settlement Administrator Are Approved

       41.    Class Counsel’s request for reimbursement of $5,713.41 in actual out-of-pocket

expenses incurred in prosecuting this case, including costs for court fees, electronic research,

court reporters, postage and courier fees, photocopies, and Plaintiff’s portion of the mediator’s

fees, is granted. The Court finds these costs to be reasonably incurred.

       42.     The costs of the Settlement Administrator shall be paid from the Settlement Fund.

Analytics Consulting, LLC shall be paid a sum of $4,814 from the Settlement Fund for the

services it performed in connection with the administration of the Settlement.




                                                 13
 Case: 1:14-cv-04645 Document #: 110 Filed: 04/20/17 Page 14 of 14 PageID #:1028



               Dismissal and Post-Judgment Procedure

       43.     This matter is dismissed without prejudice. If no motion is filed on or before sixty

(60) days from the date this Order enter on the docket, the dismissal without prejudice will

convert to a dismissal with prejudice.

       44.     The parties shall otherwise abide by all terms of the Settlement Agreement, which

are incorporated herein, and this Order.

       It is so ORDERED this 20th day of April, 2017




                                                     Honorable Virginia Kendall
                                                     United States District Judge




                                                14
